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 6                       IN THE UNITED STATES DISTRICT COURT
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                                 DISTRICT OF ARIZONA
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     United States of America,                     No. CR-20-00634-PHX-DWL
10
                  Plaintiff,                                  ORDER
11
           vs.
12                                                       (Second Request)
     Jill Marie Jones,
13
                  Defendant.
14
15         Upon motion of Defendant with no objection from the Government, and
16   good cause appearing,
17         IT IS ORDERED granting Defendant’s Motion to Continue Sentencing
18   (Doc. ____), for the reasons stated in Defendant’s motion.
19         IT IS FURTHER ORDERED continuing sentencing from June 12, 2023 to
20   _________________.
21
           DATED this _____ day of _____, 2023.
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